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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          )
                                                  )
           v.                                     )      Criminal No. 18-292
                                                  )
ROBERT BOWERS                                     )


 MOTION TO STAY THE PROCEEDINGS PENDING THE SELECTION OF A
      PETIT JURY IN CONFORMITY WITH THE CONSTITUTION
          AND THE JURY SELECTION AND SERVICE ACT,
          AND REQUEST FOR AN EVIDENTIARY HEARING

       Defendant Robert Bowers, through counsel, moves the Court for an Order staying

the proceedings in this case on the following grounds: (1) the Clerk of Court exceeded

her authority in de facto amending the March 2, 2020, Plan of the United States District

Court for the Western District of Pennsylvania for the Random Selection of Grand and

Petit Jurors (“Jury Plan”), violating the procedural requirements of the Jury Selection and

Service Act of 1968, 28 U.S.C. § 1861 et seq. (“JSSA”); (2) the Clerk of Court’s

implementation of section 9 of the Jury Plan, in failing to draw at random the name of

another resident to replace undeliverables, non-completions, and non-responses, violates

Mr. Bowers’ rights under the Sixth Amendment and JSSA to a trial by a petit jury that

has been selected from a fair cross section of the community; and (3) the Jury Plan’s

reliance on voter registration lists as the sole source list violates Mr. Bowers’ rights under

the Sixth Amendment and JSSA to a trial by a petit jury that has been selected from a fair

cross section of the community.




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       Previously, on December 6, 2021, the defense sought dismissal of the superseding

indictment or a stay of the proceedings based on challenges to the jury selection process.

On April 5, 2022, this Court denied the motion but ruled that “[t]o the extent . . .

Defendant makes arguments that depend on as yet unknown statistics or other facts

specific to the eventual petit jury selection in this case, his motion remains premature and

is denied as such.” ECF 714 at 4 n.2. The defense moved for production of additional

records, which this Court granted, relevant to the Clerk’s implementation of the Jury

Plan. See ECF 708, 837 (Court Orders directing Clerk of Court to produce additional

records and information).1

       Below, the defense makes arguments based on data and information concerning

the Clerk’s implementation of the Jury Plan, data and information unknown to the

defense at the time it filed its original motion. Based on the violations of the JSSA and

Sixth Amendment, the defense moves to stay the proceedings until the implementation of

the Jury Plan is in compliance with the statute and the Constitution. The defense requests

an evidentiary hearing in connection with this motion. In support of this motion, the

defense submits the declarations of Jeffrey Martin (Exh. A) (“Martin Dec.”) and Dr. John

Weeks (Exh. B) (“Weeks Dec.”).

       I.     The Clerk of Court exceeded her authority in de facto amending the
              Jury Plan, violating the procedural requirements of the JSSA.



1
 This Court granted defense requests and joint requests for additional jury records from the
Clerk of Court. See ECF 708, 808, 832. The Clerk provided notice on December 1, 2022, that it
had produced records responsive to the Court’s Order, see ECF 837, concerning the latest
defense request for records.
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       In at least one way, the Clerk of Court did not comply with the District’s Jury

Plan, in effect amending the Jury Plan.

       First, for each person who failed to complete or respond to the juror qualification

questionnaire within 21 days of the date of mailing, the Clerk failed to “draw at random,

the name of a resident whose address is in the same zip code to which this original juror

qualification mailing had been sent.” Jury Plan at § 9.

       On December 8, 2022, the defense sent the Clerk the following request for

information about data for those mailings for which the Clerk did not receive any

response:

       With respect to section v of the Court’s order, “Provide the Participant
       Number for persons on the Master Jury Wheel who were replaced and the
       Participant Number for the person who replaced the original juror
       qualification mailing,” ECF 837, the Clerk’s Office stated that “Information
       responsive to this paragraph is reflected in the attached Excel spreadsheets.”
       The information in Excel spreadsheet pertains to the juror qualification
       mailings that were returned as “undeliverable,” however, the spreadsheet
       does not contain information about the mailings that were not responded to.
       Would you please provide this information to the parties?

Exhibit C (Email to Clerk of Court, dated December 8, 2022). On December 15, 2022,

the Clerk responded, asserting that the Jury Plan gave her the authority to choose the

category—undeliverables, non-completions, or non-responses—from which to draw at

random the name of another resident:

       All information responsive to Paragraph (v) of Court Order #837 was
       provided to counsel on December 1, 2022. I have reattached the applicable
       Excel file (named “Substituted Undeliverables Reports”). As you correctly
       note, this Excel file does not contain information about “mailings that were
       not responded to.” Information about such mailings, identified with the
       status “Questionnaire Issued,” see Clerk of Court’s August 21, 2021
       Answers document, attached, at p. 3, can be found in the Excel files, attached,

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       that were produced on March 16, 2022 and October 21, 2022 (named
       “Combined [Item] 5, 6, 7 Spreadsheet”). The Court’s Jury Plan does not
       mandate that “mailings that were not responded to” be replaced. Jury Plan,
       Sec. 9, at p. 8 (“…for each juror qualification mailing returned by the Post
       Office as undeliverable and/or for each person who fails to complete and/or
       respond to the juror qualification questionnaire within 21 days of the date of
       mailing, the Clerk shall draw at random, the name of a resident whose
       address is in the same zip code to which this original juror qualification
       mailing had been sent.”)

Exhibit D (Email from Clerk of Court, dated December 15, 2022). The data indicates, and

the Clerk confirms, that the Clerk chose to draw a name only for each undeliverable.2 To

support her interpretation of the Jury Plan, the Clerk relies on the following sentence in

the Plan:

       Additionally, for each juror qualification mailing returned by the Post Office
       as undeliverable and/or for each person who fails to complete and/or respond
       to the juror qualification questionnaire within 21 days of the date of mailing,
       the Clerk shall draw at random, the name of a resident whose address is in
       the same zip code to which this original juror qualification mailing had been
       sent.

Jury Plan at § 9.

       The Clerk appears to interpret “and/or” to mean she can choose to draw the name

of another resident for either undeliverables or non-completions3 or non-responses, at her

discretion. The Clerk ignores, however, the directive that “the Clerk shall draw at random

. . . .” Taken together, rather than vest in the Clerk the authority to choose, the Jury Plan

2
  But even with respect to undeliverables, the Clerk failed to account for more than 8% of
undeliverables, further exacerbating the underrepresentation of Black persons, as shown below
and in section II: “The data reflects that there were 2,997 persons marked as ‘Undeliverable as
Addressed’ in the Pittsburgh Division. 2,751 of the 2,997 or 91.79% were replaced with another
qualification form to a person in the same zip code as the original qualification form.” Martin
Dec. at ¶ 32.
3
  From the data, it is not clear how the Clerk categorized non-completions (“each person who
fails to complete,” see Jury Plan at § 9).
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directs that whether the juror qualification form is returned as undeliverable or is not

completed or is not responded to, the Clerk shall draw at random the name of another

resident. This interpretation is supported by the plain meaning of the language of the Jury

Plan, as well as the intent of the amendment to the Jury Plan.

       In discussing the development of the 2020 Jury Plan, Chief Judge Hornak noted:

       The only substantive changes are found in Section 9 and reflect the way
       additional jurors are selected when a prospective juror fails to respond to [the
       WDPA’s] jury qualification questionnaire. Notably, the drawing of
       additional names in the same zip code is a process that we understand has
       been successfully employed by the [USDCT EDPA].4

Chief Judge Hornak contemplated that the Plan directed the Clerk to draw additional

names for non-completions and non-responses rather than vesting in the Clerk the

authority to choose to ignore these categories and elect to comply with the Plan as to only

the undeliverables. Chief Judge Hornak additionally noted the modest changes in the

2020 Jury Plan “as ‘incremental’ in the sense that mechanisms for jury pool selection will

remain under review by our Court over time, with a focus on incorporating ‘best

practices’ in assuring that our Plan allows for broad participation in federal jury

service.”5 The plain meaning and the intent of the amendment establish that the 2020

Jury Plan directed the Clerk’s Office to draw additional names whether it received non-

responses, non-completions, or undeliverables, a process that “allows for broad




4
  On April 2, 2021, the Court ordered the Clerk to “produce for inspection by counsel all records,
papers, or other documents, if any, explaining the reasoning behind the amendment of Section 9
of the [Jury Plan] . . . .” ECF 442. The quotations from these materials are from undersigned
counsel’s notes taken during the inspection.
5
  See n. 5 (emphasis added).
                                                5
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participation in federal jury service.” By restricting, for no apparent reason, the drawing

of additional names only for undeliverables, the Clerk is subverting this Court’s intent to

incorporating “best practices” and “assuring . . . broad participation in federal jury

service.”

       In addition to amending the Jury Plan by failing to draw replacements for non-

responses and non-completions, it is unclear from the data provided whether the Clerk

also amended the Plan by failing to send paper copies of the juror qualification

questionnaire to those who did not respond to the initial postcard mailing. In a change

from the procedures applicable to the previous Master Jury Wheel, the Jury Plan requires

that the Clerk “prepare and have mailed to every person whose name is so drawn, a

postcard directing that person to complete a juror qualification questionnaire form . . .

through the Court’s internet website within ten days.” Jury Plan at § 9. For any person

who fails to respond to this initial postcard by completing the form through the Court’s

internet website, the Jury Plan requires the clerk to mail a “paper version of the juror

qualification questionnaire form” to that person. Id. The data the Clerk produced does not

indicate whether the Clerk complied with this provision by mailing a paper version of the

form to those individuals who failed to respond to the initial postcard directing them to

complete the form through the Court’s internet website.6

       Section 1863 outlines the process for a district court to develop, obtain approval

for, and implement a written plan for random selection of grand and petit jurors. See 28


6
 Counsel will follow up with the Clerk of Court to confirm whether data exists to confirm
compliance with this provision.
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U.S.C. § 1863(a)–(d). After the “reviewing panel” approves the plan, the plan “shall be

placed into operation . . . .” 28 U.S.C. § 1863(a). The Jury Plan for this District directs

that the “Clerk of the Court shall manage the jury selection process . . . .” Jury Plan at §

4.

       The Plan allows the Clerk to manage the jury selection process, not to amend it.

Here, the Clerk in effect amended the Jury Plan by ignoring the changes that had been

approved in accord with the procedural mechanisms outlined in the JSSA. The Clerk’s

failure to comply with the Plan was not a “minor adjustment of administration on a

matter left unaddressed by the existing plan.” In re United States, 426 F.3d 1, 7 (1st Cir.

2005). Rather, in failing to draw, at random, the name of another resident for each person

who did not complete or respond to the juror qualification questionnaire, the Clerk

effectively struck the language from the Plan requiring her to do so.7 As a result, in at

least one way, the Clerk diminished, with “consequential” effect, “the bases for a new

draw,” and the Clerk’s action therefore “amounts to a de facto amendment” of the Jury

Plan. Id. Regardless of the rationale, any amendment with “consequential” effect, cannot

“escape the statute's procedural requirements.” Id.

       The Clerk’s de facto amendment(s) to the Jury Plan consequentially diminished

the representation of Black residents on the qualified jury wheel. As presently structured,

the Qualified Jury Wheel is 4.18% African-American. Martin Dec. at ¶ 22; Weeks Dec. at



7
  If the Clerk also failed to mail a paper version of the form to those individuals who did not
respond to the initial postcard, the Clerk similarly amended the Plan without authority,
effectively striking language from the Plan.
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¶¶ 7, 14. Even this is a statistically significant underrepresentation of African-Americans

who are eligible for jury service. Martin Dec. at ¶ 27; Weeks Dec at ¶¶ 7, 14. Compared

to the previous jury plan for the District, the Jury Plan as implemented by the Clerk

provided for replacement forms to be mailed to another resident drawn at random to

replace the forms for those persons for whom the mailing was returned as undeliverable.

According to Mr. Martin, due to this change, the replacement of undeliverables, the

“replacements resulted in an additional 942 qualified persons and a reduction in the

under-representation of Black or African-American persons.” Martin Dec. at ¶ 34. The

replacement of undeliverables increased the percentage of African-Americans in the

qualified jury pool from 4.07% to 4.18%.8

       Mr. Martin notes that there were “6,994 juror qualification forms for which no

response was received or more than twice the number” of the undeliverable forms. Martin

Dec. at ¶ 35. Extrapolating from the data for the undeliverables, “[a]ssuming the same

response rate and qualification rate as the replacement of undeliverable juror qualification

forms (32.25%)[,] there would have been an additional 2,256 qualified persons if there

was replacement of juror qualification forms for which no response was received.”

Martin Dec. at ¶ 36. The replacement of non-responses would reduce the




8
  As noted above, the Clerk chose to draw at random replacements only for those forms returned
as undeliverable but even then did not do so for all forms returned as undeliverable. The Clerk
replaced “2,751 of the 2,997 or 91.79%” of the undeliverable forms. Had the Clerk replaced all
undeliverable forms, the percentage African-American in the qualified jury pool would be even
more improved.
                                               8
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underrepresentation of African-American persons in the Qualified Jury Pool. Martin Dec.

at ¶ 37.

       Dr. Weeks reaches the same conclusion as Mr. Martin. Looking at data by county,

Mr. Weeks determined that “there was a very high correlation of 0.66 (in which 0.00 is

no correlation and 1.00 is a perfect correlation) between the percent Black in a county

and the percent of non-responses.” Weeks Dec. at ¶ 17. Dr. Weeks observes that the

“very clear and obvious conclusion to be drawn from this analysis of the 2020 Qualified

Wheel data” is that replacing the non-responses “will almost certainly increase the

percentage of Blacks in the jury pools of the Pittsburgh Division.” Weeks Dec. at ¶ 20.

       Mr. Martin also notes that with the change to a postcard for the initial mailing, the

rate of undeliverable qualification forms has increased as has the percentage of non-

responses. Martin Dec. at ¶¶ 40- 43. Extrapolating from the data, Mr. Martin concludes

that the change to a postcard for the initial mailing disproportionately affects African-

American persons. Martin Dec. at ¶¶ 44, 45. That is, more of the postcards are

undeliverable or not responded to overall, and the undeliverables and non-responses are

disproportionately African-American. Martin Dec. at ¶¶ 44, 45.

       There are many reasons why the District’s change to a postcard for the initial

mailing increases the percentages of undeliverables and non-responses. The postcard is

small and thin, and while the postal delivery person might endeavor to place each

postcard in each mailbox, due to the small size of the postcard, it is likely that at least

some of the postcards are not delivered. See Exhibit E (sample postcard taken from

District’s website). Additionally, the postcard offers only one option: complete the

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questionnaire online. It is well established that economically disadvantaged communities,

which are often communities with a higher percentage of Black residents, have less

access to the internet. See, e.g., Report on Digital Equity, Neighborhood Allies, available

https://reports.mysidewalk.com/8f04ba646b (citing U.S. Census Bureau data from 2017–

2021 regarding internet access amongst households in Allegheny County, Pennsylvania

and noting that 10.4% of households do not have internet access); Julia Felton,

“Pittsburgh, Allegheny County Officials Push to Close Digital Divide,” The Tribune-

Review (Sept. 28, 2022), available at https://www.govtech.com/network/pittsburgh-

allegheny-county-officials-vow-to-close-digital-divide (noting that “[a]bout 30% of the

region's senior citizens do not have broadband access, and about 30% of households

making under $20,000 a year also lack Internet access in their homes”). Finally, the

postcard does not provide a phone number to call for those who do not have internet

access or for those who may have technical or other questions regarding the

questionnaire. Regardless of the reasons why, the facts are that the data indicates that the

change to a postcard for the initial mailing has had a net negative effect on the percentage

of African-Americans in the qualified jury pool.

       Taken together, the data establishes that, in failing to draw, at random, the name of

another resident for each person who did not complete or respond to the juror

qualification questionnaire, the Clerk consequentially diminished the percentage of

African-Americans in the qualified jury pool.9 Without authority, the Clerk amended the


9
 To the extent that the Clerk also failed to mail a paper version of the juror qualification
questionnaire form to any person who did not respond to the initial postcard, the data similarly
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Jury Plan in at least one way with “consequential effect,” causing a statistically

significant reduction in the percentage of African-Americans in the Qualified Jury Wheel.

In re United States, 426 F.3d at 7. Because the Clerk’s amendment of the Jury Plan

violates the JSSA, the Court should stay the proceedings until the Qualified Jury Wheel is

selected in compliance with the Jury Plan.

       II.      As a consequence of the Clerk of Court’s implementation of the Jury
                Plan, the qualified jury pool was not selected at random from a fair
                cross-section of the community and, therefore, the selection process
                violated the Sixth Amendment to the U.S. Constitution and
                substantially failed to comply with the JSSA.

       “The Sixth Amendment secures to criminal defendants the right to be tried by an

impartial jury drawn from sources reflecting a fair cross section of the community.”

Berghuis v. Smith, 559 U.S. 314 (2010). “[J]ury wheels, pools of names, panels, or

venires from which juries are drawn must not systematically exclude distinctive groups in

the community and thereby fail to be reasonably representative thereof.” Duren v.

Missouri, 439 U.S. 357, 363–64 (1979) (quoting Taylor v. Louisiana, 419 U.S. 522, 538

(1975)). Mr. Bowers “has the burden to establish a violation of his fair-cross section

rights by identifying (1) ‘a ‘distinctive’ group in the community’ (2) that was ‘not fair[ly]

and reasonab[ly]’ represented among potential jurors compared with its representation in

the community (3) because of ‘systematic exclusion of the group in the jury-selection

process.’” United States v. Savage, 970 F.3d 217, 254 (3d Cir. 2020) (quoting Duren, 439

U.S. at 364).


suggests that any failure to send the paper form, at a minimum, would have exacerbated the
negative effects of the Jury Plan’s change to a postcard for the initial mailing.
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       Mr. Bowers meets the first prong of this test. See Savage, 970 F.3d at 255 (“We

routinely recognize that Blacks qualify as a distinctive group.”); United States v. Weaver,

267 F.3d 231, 240 (3d Cir. 2001) (“African–Americans and Hispanics are ‘distinctive’

groups for the purposes of a fair cross-section analysis.”).

       With respect to the second prong, the statistical analyses by Mr. Martin and Dr.

Weeks demonstrate that, as a consequence of the Clerk’s implementation of the Jury

Plan, African-Americans are not fairly and reasonably represented among potential jurors

as compared with their representation in the community. African-Americans comprised

6.86% of the jury eligible population in the Pittsburgh Division in 2021. Martin Dec. at ¶

27; Weeks Dec. at ¶ 7. Though the Clerk’s replacement of undeliverables arguably made

a minor improvement, still, there is a statistically significant disparity in the

representation of African-Americans in the Qualified Jury Wheel as compared to the

percentage of African-Americans in the jury eligible population. Martin Dec. at ¶ 34;

Weeks Dec. at ¶ 7. While the absolute and comparative disparities noted are within the

range this Court, and other courts, have found acceptable, the focus ought to be on

whether the disparity is statistically significant. Under the rubric this Court applied in its

previous Order denying the first defense motion challenging the jury selection process,

see ECF 714, for relatively small populations such as is applicable here, where the

percentage of jury eligible African-Americans is only 6.86%, the absolute disparity will

never rise to a level sufficient to raise a fair cross section claim. However, the fact that

the disparity is statistically significant is what matters. The statistically significant

disparity documented by Mr. Martin and Dr. Weeks—over 14 standard deviations from

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the percentage of African-Americans in the jury eligible population—is sufficient to meet

the second prong of the Duren test. See Segar v. Smith, 738 F.2d 1249, 1262 (D.C. Cir.

1984) (“[A] standard deviation level higher than three indicates that the odds are less than

one in a thousand that an observed result could have occurred by chance . . . . A study is

generally considered to be statistically significant when the odds that the result occurred

by chance are at best one in 20.”); Boyle v. City of Philadelphia, 476 F. Supp. 3d 101,

109 (E.D. Pa. 2020) (citing Stagi v. National R.R. Passenger Corp., 391 Fed. Appx. 133,

140 (3d Cir. 2010) (“With regard to the first approach, the Third Circuit has affirmed that

‘a finding of statistical significance with a probability level at or below 0.05, or at 2 to

3 standard deviations or greater, will typically be sufficient’ to establish statistical

significance”).

       As to prong three of the Duren test—systematic exclusion of the group in the jury-

selection process—“a defendant may establish an exclusionary process by identifying a

large discrepancy over time such that the system must be said to bring about the

underrepresentation.” United States v. Savage, 970 F.3d at 259 (internal quotation

omitted). Here, the defense incorporates the previously-filed declarations of Mr. Martin

and Dr. Weeks. ECF 650-2 and 650-3. In those declarations, Mr. Martin and Dr. Weeks

demonstrate that statistically significant disparities persist over time with respect to the

number of African-Americans in the Qualified Jury Wheel of the Pittsburgh Division.

And that statistically significant disparity continues with the updated October 2022 data.

The Clerk was required to reduce, but has not reduced, the disparity by taking the

relatively simple steps of (i) drawing replacement names for all undeliverables, instead of

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failing to replace more than 8% of undeliverables, see supra n.4, and (ii) drawing

replacement names for non-responses and non-completions.1 The Clerk’s use of a

postcard for the initial mailing (or what may be the only mailing) has increased the

percentage of undeliverables and non-responses, which disproportionately affect African-

Americans and ultimately reduced the percentage of African-Americans in the Qualified

Jury Wheel. The use of the postcard, and the failure to replace all of the undeliverables

and none of the non-responses and non-completions, are further evidence that the

exclusion of African-Americans from the Qualified Jury Wheel is systematic.

       The defense has thus established systematic exclusion, meeting all three prongs of

the Duren test. The Court, therefore, should stay the proceedings until the selection

process conforms to the fair cross section requirements of the Sixth Amendment.

       For the same reasons outlined above, Mr. Bowers asserts a fair cross section claim

under the JSSA and requests a stay of the proceedings. Fair cross section claims under the

JSSA “are analyzed using the same standard as a Sixth Amendment fair cross section

claim.” Weaver, 267 F. 3d at 231. Because Mr. Bowers has established a constitutional

fair cross section claim he has necessarily established a violation of the fair cross section

requirement of the JSSA.

       III.   The Jury Plan’s reliance on voter registration lists as the sole source
              list violates Mr. Bowers’ rights under the Sixth Amendment and JSSA
              to a trial by a petit jury that has been selected from a fair cross section
              of the community

       Previously, Mr. Bowers raised statutory and constitutional fair cross section claims

based on the use of voter registration lists as the sole source list in this Court’s Jury Plans.


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ECF 650 at 58–147. He noted then that “such a claim cannot be sustained by presenting

statistical information from one qualified jury wheel.” Id. at 60. The defense renews and

incorporates here the arguments previously made and the exhibits previously submitted.

See ECF 650 at 58–147 and ECF 650-1–650-14. The defense supplements the argument

with the updated October 2022 data provided by the Clerk of Court and the analysis of

that data by Mr. Martin. The analysis of the updated data establishes that the choice of the

voter registration list as the source of jurors decreased the percentage of African-

American eligible jurors by 2.16%, resulting in a statistically significant 119 standard

deviations from the population value in a normal distribution. Martin Dec. at ¶¶ 27, 29.

Mr. Martin concludes that “the largest single systematic factor in the underrepresentation

of Black or African-American persons is the selection of the voter registration list as the

sole source of names.” Martin Dec. at ¶ 7. Combined with the data previously presented,

see ECF 650 at 58–147 and ECF 650-1–650-14, the new, updated October 2022 data only

strengthens Mr. Bowers’ argument that the use of voter registration lists as the sole

source list in this Court’s Jury Plans violates the fair cross section requirements of the

Sixth Amendment and the JSSA. For these reasons, the Court should stay the proceedings

until the Jury Plan is in conformity with constitutional and statutory fair cross sections

requirements.

       IV.      Mr. Bowers is entitled to an evidentiary hearing.

       For jury challenge claims arising under the Constitution, the law has long been

settled that upon the proper raising of such a challenge, a defendant is entitled to an

evidentiary hearing to prove the merits of his challenge. See Coleman v. Alabama, 377

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U.S. 129, 133 (1964) (the federal constitutional right against the systematic exclusion of

classes of citizens from the grand jury implies an ancillary right to fair opportunities to

discover and prove systematic exclusion claims); Dow v. U.S. Steel Corp., 195 F.2d 478,

480 (3d Cir. 1952) (“We think that the [constitutional jury selection] issues raised by the

plaintiff's counsel are such that he should be entitled to present evidence on the point.”).

See also Willis v. Zant, 720 F.2d 1212, 1216–17 (11th Cir. 1983) (vacating the denial of

habeas relief on a fair cross-section claim and remanding the claim to the district court

for an evidentiary hearing; petitioner “claims that young adults constituted a distinct

group” and he is “entitled to a chance to prove his claim” because “[w]hether or not a

class of persons is a sufficiently distinct and cognizable for sixth amendment fair cross-

section analysis is a question of fact”) (citing Hernandez v. Texas, 347 U.S. 475, 478

(1954) (“[W]hether such a group exists within the community is a question of fact.”);

Mobley v. United States, 379 F.2d 768, 773–74 (5th Cir. 1967) (“A further supplemental

hearing should be held by the court on the question of systematic exclusion, and in order

that the record may be complete, we direct that all evidence heretofore taken on the

subject be considered together with such additional evidence as both parties may present

and as may be found relevant by the trial court under standards articulated and announced

in our recent en banc decisions on the subject. In view of the constitutional importance of

this matter, the hearing to be held ought to be as broad as that permitted in a post-

conviction Section 2255 proceeding.”).

       For claims arising under the JSSA, 28 U.S.C. § 1867(d) provides:



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       Upon motion filed under subsection (a), (b), or (c) of this section, containing
       a sworn statement of facts which, if true, would constitute a substantial
       failure to comply with the provisions of this title, the moving party shall be
       entitled to present in support of such motion the testimony of the jury
       commission or clerk, if available, any relevant records and papers not public
       or otherwise available used by the jury commissioner or clerk, and any other
       relevant evidence.

       “The legislative history makes clear that this requirement was considered

independently important as a means for discouraging spurious challenges filed for

dilatory purposes.” United States v. Kennedy, 548 F.2d 608, 613 (5th Cir. 1977). In the

Third Circuit, the requirement is subject to exception. See United States v. Calabrese,

942 F.2d 218, 222 (3d Cir. 1991) (section is subject to “an exception for undisputed facts,

sufficient to provide a basis for the district court’s decision”).

       Here, Mr. Bowers’ motion is not spurious. It is supported by sworn statements of

facts of two qualified experts, which, if true, would constitute a substantial failure to

comply with the JSSA; it is based in part on facts which should be undisputed; and it is

not being filed for dilatory purposes. Both the letter and spirit of this section have been

complied with, and Mr. Bowers is entitled to an evidentiary hearing to prove his JSSA

claims independent of his right to a hearing to prove his constitutional claims.




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                             Respectfully submitted,

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                             Judy Clarke
                             Clarke Johnston Thorp & Rice, PC

                             /s/ Michael N. Burt
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                             /s/ Michael J. Novara
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                             /s/ Elisa A. Long
                             Elisa A. Long
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